Case 21-30589-MBK           Doc 1321      Filed 01/31/22 Entered 01/31/22 17:55:03                Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)


  E. Richard Dressel, Esquire (ED 1793)
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  Attorneys for Erwin Chemerinsky

                                                                    Case No.:         21-30589(MBK)
                                                                                    ___________________
  In Re:
                                                                    Chapter:                11
                                                                                    ___________________
        LTL MANAGEMENT, LLC,
                                                                    Judge:          Michael B. Kaplan
                                                                                   ___________________
                                         Debtor.

                                        NOTICE OF APPEARANCE

           Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an
                                          Erwin Chemerinsky
 appearance in this case on behalf of _________________________. Request is made that the documents
 filed in this case and identified below be served on the undersigned at this address:

           ADDRESS: Lex Nova Law LLC
                        10 E. Stow Road, Suite 250
                        Marlton, NJ 08053


           DOCUMENTS:
           ☐ All notices entered pursuant to Fed. R. Bankr. P. 2002.

           ☐ All documents and pleadings of any nature.




                  January 31, 2022
           Date: ___________________________                        /s/ E. Richard Dressel
                                                                    ______________________________
                                                                    Signature


                                                                                                   new.8/1/15
